Case 1:20-cr-00165-JEB Document 21-16 Filed 12/03/20 Page 1 of 3




                   Exhibit 16
      [Redacted Public Version]
        Case 1:20-cr-00165-JEB Document 21-16 Filed 12/03/20 Page 2 of 3




Dear Judge Boasberg,

I am writing this character reference on behalf of Kevin Clinesmith. I have known Kevin for
roughly


From Kevin’s first weeks on the team it became clear to me that Kevin is a dedicated public
servant, friend, and family man. Kevin was an invaluable member of our team, always looking
to take on more responsibility and be of more help to the office. His passion for national
security law led me to suggest to our director that he consider having Kevin serve as our in-
house legal advisor. When it became clear the department would not allow us to fill the
position with an internal staffer, we instead supported Kevin in pursuing a joint duty
assignment (aka a detail) to FBI, because his expertise and commitment would be underutilized
continuing to work solely on energy geopolitics.

Kevin’s desire to do good and contribute to society is only surpassed by his big heart and bigger
smile. While Kevin and I soon parted ways professionally, we have remained close ever since
because he is such a kind and gentle giant. Over the years, I have watched, often in
amazement, as Kevin has taken on increasingly demanding work assignments while also
expanding the role he played supporting his community and his family. When Kevin’s parents,
who resided in upper Michigan, began to fall ill, it was Kevin who stepped up to ensure they got
the care they needed and that the family farm and finances didn’t fall into disrepair.

I have not seen any other letters that are being written on Kevin’s behalf or talked to any
potential contributors but what I bet you will find as a common thread among all our letters is
the outlines of a caring and dedicated friend and coworker who will go to any lengths necessary
to support both groups.

Kevin has shared with me his guilty plea and, working in national security myself, I know the
seriousness of this issue and the importance of always holding oneself to the utmost of
personal and professional standards.

I am now
                                          I can say without reservation that the Kevin that I
worked with and have remained friends, is someone I wish I could fill my whole team with. He
wants to make a difference, wants to help his teammates and his office in any way he can, and
brings warmth, civility, and camaraderie to any team he is assigned. For all our sakes, it is my
sincerest hope that this incident will not prevent or deter Kevin from continuing to serve his
country and his community in whatever role he so desires.

I do not deny that Kevin has pled guilty to a serious offense, and Kevin has never attempted to
rationalize or justify his behavior to me. I do hope, however, that as you weigh the appropriate
punishment for this offense, that you will believe me when I say, we need more people like
        Case 1:20-cr-00165-JEB Document 21-16 Filed 12/03/20 Page 3 of 3




Kevin in public service, and I hope this punishment is not one that unduly impacts his chances
of resuming his career and continuing to make a difference.

Sincerely,
